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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                    In Admiralty

 Hanwin Shipping Limited,                       *
                                                *
        Plaintiff                               *
                                                *
 v.                                             *     Civil No.
                                                *
 Transatlantica Commodities Pte Ltd.,           *
                                                *
        Defendant, in personam                  *
                                                *
 and                                            *
                                                *
                                                *
 The Master of the M/V Tac Imola                *
                                                *
       Garnishee                                *
                                                *
                                                *
 ** * * ** * * ** * * ** * * ** *               *     ** * * ** * * ** * * ** * * ** *

             MOTION FOR APPOINTMENT OF SUBSTITUTE CUSTODIAN

        Plaintiff Hanwin Shipping Ltd. hereby moves this Court for an order appointing the Master

of the M/V TAC IMOLA (“Vessel”) as substitute custodian for the bunkers (marine fuel) and any

other stores or tangible property aboard the M/V Tac Imola to be attached or garnished pursuant

to Rule B.

        In support of this motion, Plaintiff states that a Verified Complaint has been filed

requesting that a writ of attachment and garnishment issue for the for the property of Defendant

Transatlantica which is now or soon will be within the District, including bunkers (fuel) and other

provisions aboard the M/V Tac Imola and controlled by the Garnishee, the Master of the M/V Tac

Imola, and other stores or tangible assets belonging to Defendant Transatlantica Commodities Pte

Ltd., aboard the Vessel.

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       The Clerk of this Court has been requested to, upon Order of this Court pursuant to

Supplemental Rule B, issue process of maritime attachment and garnishment commanding the

United States Marshal for this District to attach and take into the custody the bunkers and other

tangible property until further Order of this Court respecting the same.

       Upon the attachment of the bunkers and other stores, it would be most efficient and cost-

effective for the Marshal to turn over custody of the attached property to a capable substitute

custodian. The Master of the M/V TAC IMOLA is experienced with keeping the Vessel, and

would be able to do so at less expense and difficulty than the Marshal.

       Plaintiff requests the ability, to reappoint the custodian at the designation of the Plaintiff’s

counsel, Christopher McNally, when less exigent circumstances exist. Plaintiff anticipates the

appointment of National Maritime Services, Inc., a company well known to the Court and the

maritime bar, to supply a watchman on the vessel to prevent the use of the attached consumable

property and otherwise prevent the property from departing the District.

       Plaintiff in consideration of the Marshal's consent to the substitution of custody of the

bunkers and other stores, agrees to release the United States and the Marshal from any and all

liability and responsibility arising out of the care and custody of said bunkers and stores, from the

time the Marshal or Marshal’s designee transfers custody of said bunkers and stores over to the

substitute custodian, and Plaintiff further agrees to hold harmless and indemnify the United States

and the Marshal from any and all claims whatsoever arising out of the substitute custodian's

possession and safekeeping of the bunkers and stores.

       WHEREFORE, Plaintiff requests this Court grant its motion and enter the proposed Order

authorizing and directing the United States Marshal for this District to surrender the possession

and custody of the bunkers and stores to the substitute custodian named herein and that upon such

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surrender the Marshal shall be discharged from his duties and responsibilities for the safekeeping

of the bunkers and stores and held harmless for any and all claims arising whatever out of said

substituted possession and safekeeping of the bunkers and stores.



Respectfully Submitted July 22, 2022
                                                     /s/ Christopher McNally, Esq.
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